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                          ATTORNEY REGISTRATION AND DISCIPLINARY COMMISSION
                                                of the
                                      SUPREME COURT OF ILLINOIS

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           Timothy M. Biasiello
           2605 Hazelnut Lane
           Riverwoods, IL 60015

           Via Electronic Mail


                                                             Chicago
                                                             Friday, April 10, 2020

                                                             Re:   Timothy Michael Biasiello
                                                                   Attorney No. 0204501

           To Whom It May Concern:

                 We have received a request for written verification of the status of Timothy Michael
           Biasiello for use by officials responsible for the review of the attorney's application for admission
           to the bar of another jurisdiction, or for a judicial position or for government employment. We
           have also received a Waiver and Authorization signed by the attorney. Pursuant to Commission
           policy, the following information is provided.

                  The records of the Clerk of the Supreme Court of Illinois and of this office reflect that
           Timothy Michael Biasiello was admitted to practice law in Illinois on 6/11/1974; is currently
           registered with this Commission and in good standing as an Illinois attorney; has never been
           disciplined or the subject of a disciplinary proceeding in this state; and is not the subject of any
           pending disciplinary investigations.

                                                             Very truly yours,
                                                             Jerome Larkin
                                                             Administrator




                                                                              R. Evans
                                                                           >r Deputy Registrar


           ORE
